Case 2:13-cV-06035-DSF-SH Document 1 Filed 08/16/13 Page 1 of 26 Page |D #:32

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JEANNE L. ZIMMER, Esq (State Bar No 123321)
J. GRACE FELIPE ESQ (State Bar No 190893)
CARLSON & MESSER LLP

5959 W. Century Boulevard, Suite 1214

Los Angeles, California 90045

(310) 242-2200 Telephone

(310) 242-2222 Facsimile '

 

Attorneys for Defendant
MIDLAND CREDIT MANAGEMENT, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

S§§.M §S§§t>§t[§#)<

 

MIKE MARQUEZ,
Plaintiff,
vs.

MIDLAND CREDIT MANAGEMENT,

NoTICE oF REMOVAL
rNC., v

Defendant.

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DEFENDANT’S NOTICE OF REMGVAL
Defendant MIDLAND CREDIT MANAGEMENT, lNC. hereby tiles this notice of removal

under 28 U.S.c_ §1446(3).

A. INTRODUCTION
1. Defendant is MIDLAND CREDIT MANAGEMENT, INC.(“Defendant”); Plaintiff
is MIKE MARQUEZ (“Plaintiff’ )

ill m 2. y Upon information and belief, Plaintiff initially filed this case on l\/larch 25, 2013 in

the Superior Court of California, County of Los Angeles, Case No. 13K03972. A true and correct

copy of Plaintift’ s original Summons and Cornplaint is attached hereto as Exhibit “A,”

1
NOTICE OF REMOVAL

\~_/

 

CARLSON & MESSER LLP
5959 W. EENTuRY EnuLEvARD, SulTE 1214

Los ANGEL.ES, BAL\FURN|A 900-45

Case 2:13-cV-06035-DSF-SH Document 1 Filed 08/16/13 Page 2 of 26 Page |D #:33

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3. On July 18, 2013, Defendant Was served via Notice of Acknowledgment and
Receipt With the Sumrnons and a copy of Plaintift’ s Complaint attached hereto as Exhibit "B."

4. As Defendant received PlaintifF s Complaint on July 18, 2013, Defendant files this
notice of removal Within the 30-day time period required by 28 U.S.C. §1446(b), and as extended
via FRCP 6. See Wells v. Gateways Hosp. & Mental Health Ctr., 1996 U.S. App. LEXIS 2287 at
*2 (9th Cir. Cal. Jan. 30, 1966).

B. BASIS FOR REMOVAL

5. Removal is proper because Plaintiff’ s Complaint involves a federal question 28
U.S.C. §§1331, 1441(b); Long v. Bando Mfg. ofAm., Inc., 201 F.3d 754, 757-58 (6th Cir. 2000);
Pez‘ers v. Union Pac. R.R., 80 F.3d 257, 260 (8th Cir. 1996). Specitically, Plaintiff has alleged
claims that arise under 15 U.S.C. § 1692, et seq., for alleged violations of the Fair Debt Collection
Practices Act. lt is therefore an action of Which this Court has original jurisdiction under 28 U.S.C.
§ 1331, and may be removed to this Court by Defendant pursuant to the provisions of 28 U.S.C. §
1441(a). This Court also has supplemental jurisdiction over Plaintiffs state claims under the
Rosenthal Act pursuant to 28 U.S.C. § 1367.

6. Venue is proper in this district under 28 U.S.C. §1441(a) because this district and
division embrace the place Where the removed action has been pending

7. Defendant Will promptly file a copy of this notice of removal With the clerk of the
state court Where the action has been pending

C. JURY DEMAND

8. Plaintiff does not demand a jury in the state court action. Defendant demands a jury
trial.

D. CONCLUSION

9. Defendants respectfully request removal of this action as it involves a Federal
question under the Fair Debt Collection Practices Act, 15 U.S.C. §1692.

///
///

2
NOTICE OF REMOVAL

 

CARLSON & MESSER LLP
5959 W. C.‘ENTuRY Bc\uLEVARD, SuiTF_‘ 1214

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Case 2:13-cV-O6035-DSF-SH Document 1 Filed 08/16/13 Page 3 of 26 Page |D #:34

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DATED: August 16, 2013 CARLSGN & MESSER LLP

By /s/ JEANNE L. ZIl\/IMER
JEANNE L. le\/IMER
J. GRACE FELIPE
Attorneys for MIDLAND CREDIT
MANAGEMENT, INC.

3
NOTICE OF REMOVAL

 

Case 2:13-cV-O6035-DSF-SH Document 1 Filed 08/16/13 Page 4 of 26 Page |D #:35

EXHIBIT A

Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 5 of 26 Page lD #:36

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F(JR COURT USE ONLY
(SDLO PARA USO DE LA CORTE)

SUNiNiONS
(CITACION JUDICIAL)

NOTICE TO DEFENDANTZ
A\//SO AL DEMANDADO}.'

MIDLAND CREDIT MANAGMENT, lNC.

FILED
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MAR 25 2013

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By .Deiwfy
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nless you respond within 30 days. Read the liiiormation

YOU ARi§ BEiNG SUED BY PLA|NT|FF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

MIKE MARQUEZ

NOTlCEi You have been sued. The court may decide against you without your being heard u

below.
You have 30 CALENDAR DAYS after this summons and legal papers are served on you to tile a wri
Your written response must be in prop

served on the plaintiff A letter or phone call will not protectyou.
case. There may be a court form thatyou can use for your response Yoii can find these court forms an
Online Se|f~Help Center (www.courtinfo.ca.gov/selfhelp), your county law iibrary, orthe courthouse nearest you. if you canno
the court clerk for a fee waiver form. if you do not tile your response on tlme, you may lose the case by defauit, and your wages, money,
may be taken withoutfurther warning from the court.

There are other legal requirements You may want to call an attorney right away. if you do not know an attorney, you may Want to callan attorney

referral service lf you cannot afford an attorney, you may be eligible for tree legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www./awhe!pcallfomia.org), the Cailfornla Courts Online Self-l-leip Center
acting your local court or county

(WWW.courtinfo.ca.gov/selthelp). or by cont bar association NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of$t0,000 or more in a civil case. The coun's lien must be paid before the court will dismiss the case.
/A VISO/ Lo han demandado. Si rio responds dentro de 30 dlas, la cone puede decidir en su contra sin escucliar su vers/on. Lea la lnformaclon a
continuaci`on.

Tiene 30 DlAS DE CALENDAR!O después de que le entregue

corte y hacer que se entregue una cop/a al demandante. Una carr
en formaio legal correcto si desea que procesen su case en la oorte. Es posible que haya un
‘ fornia (www.sucorte.ca.gov), en la

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biblioteca de /eyes de su condado o en la con‘e que le quede mas cerca. Si no puede pagarla cucta de presentacion, pida al secretario dela cone
que le de un formulario de exencion de page de cuotas. Si no presents su respuesta a tiempo, puede perder el caso per incumplimiento y la cone le

podra quitar su sue/do, dinero y bienes sin mas advertencia.

Hey otros requisites legales. Es recomendable que llame a un tamente. Si no conoco a un abogado, puede llamara un serviclo de
remis/`on a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisites para obtener se)vicios legales gratuitos de un
programa de servicios /ega/es sin lines de lucro. Puede encontrar estes grupos sin fines de lucro en el si!io web de Ca/ifomi`a Legal Services,
(www.iawhelpcaiifornia.org), en el Centro de Ayuda de las Cortes de Calii‘ornla, {www.sucorte.ca.gov) o poniéndose en contacto con la cone o et
colegio de abogados /ocales. AV!SO: Por ley, la corte tiene derecho a reclamarlas cuotas y los coates exentos porimponer un gravamen sobre
cualquier recuperaciori de $ 70, 000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un case de derecho civil. Tiene que`
pagar el gravamen de la cone antes de que la cone pueda desechar el caso, '

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er legal form if you want the court to hear your
d more information at the Caiifornia Courts
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CASE NUMBER:
{Nume/o del Caso):

 

 

 

The name and address of the court is:
(E/ nombre y direccion de la cone es).'

lll N. Hili St.

 

13K03972

Superior Court of Los Angcies

 

 

Los Angelcs, CA 90012

The name, address, and telephone number of plaintith attorney, or plaintiff without an attorney, is:

(El nombre, la direccion y el numero de teléfono del abogado del demandarite, o del demandante q ' ne abogado, es):

Todd M. Friedrnan, 369 S. Doheny Dr., #415, Beverly Hills, CA 9021 o 7-2M

oArE: Bfii§ As Clark&ri<, b . Deputy

(Fecha) MAR 2 5 2013 j (Secretayrio) MOSES SOTO (Ad/Unio)
Proof of Service of Surnrnons (form POS-O‘lO).)

 

(For proof of service of this summons, use
(Para prueba de enlrega de esta citation use el formulario Proof of Service of Summons,

NOTiCE TO THE PERSON SERVED: You are Served

 

(F’OS-010)).

 

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§ z )§ - .". 1 §
z§§;¥‘ . l *'§/§§ under; i:i CCP 416.10 (corporation) CCP416.60(rninor)
ZO`;`..<§; _ _,./’5§'__3' [:j CCP 416.20(defunctcorporation) i::] CCP 416.70(conservatae)
"'., »0».3"_.~" [:: CCP 416.40 (association or partnership) [_'_:] CCP 416.90 (authorlzed person)
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www.FunnsWorkiiow.i:om

Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 6 of 26 Page lD #:37

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l Todd M. Friedman (216752) POS_9/25/13
2 Nicholas J. Bontrager (252114) TRIAL~9/25/]4
Surcn N. Weerasuriya (278512) OSC-3/25/16
3 Law Offices of Todd M. Fricdman, P.C.
369 S. Doheny Dr. #415
4 Bevcriy Hills, CA 90211
5 Phime= 877-206-4741 C "f Cam l
Fax' 866-633-0228 Su erlor ourto Oma
' A l
6 tfriedman@attorncysforconsumers.com gounw of LOS nga 93
nb0ntrager@attorncysforconsumers.com ' MAR 25 2013
7 sweex'asuriya@atto_rneysforconsumers.com who A_ C ac- .Execu m 0 ricci/mark
8 Attorney for Plamttff By ` Depmy
Mosess no _.'___
9 §':z-‘ '“:1
SUPERIOR COURT OF THE STATE OF CALIFORNIA ;.T' `
10 FOR THE COUNTY OF LOS ANGELES §.'~'§‘;
ll LIMITED JURISDICTION d
12 CaSCNO~ 13 K 0 3 97 2 113 .-_ ___
13 ) coMPLAlNT FOR VIoLATIoN § §§
4 MIIGE MARQUEZ, ) OF ROSENTHAL FAIR DEBT _._i § _ `
l ) COLLECTION PRACTICES ACT AND “ `
15 Plaintiff, ) FEDERAL FAIR DEBT COLLECTION
) PRACTICES AC'I`
16 vs. )
17 ) (Amount not to exceed $.10,000)
MIDLAND CREDIT MANAGEMENT, )
13 INC., } l. Violation ofRosenthal Fair ` t
) Collection Practices A ii y g
19 Defendam. ) 2. violation OfFair o@_i col solicit/rn
) Practioes Act lV/i
20 le 2 5 gm
21
22 I. INTRODUCTION
23 1. This is an action for damages brought by an individual consumer for Defendant’s
24 Violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Codc §1788, et seq.
25 (h@i»@tnaeer “i{il*'ijcPA") and the Fair Debi COiiection Pracuces Aei, 15 U.§.c.""§iog>z, er seq.
26 l §hereinaftcr “FDCPA”), both of which prohibit debt collectors front engaging in abusiyo,_ l
dcceptivo, and unfair practices
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Complaint - l

 

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II. PARTIES
2. Plaintift", Mil<e Marquez (“Plaintiff”), is a natural person residing in Los Angeles
county in the state of California, and is a “consumcr” as defined by the FDCPA, 15 U.S,C.

§1692a(3) and is a “debtor” as defined by Cal Civ Code §1788.2(11).

3. At all relevant times herein, Defendant, Midland Credit Managernent, lnc.
(“Defendant”) Was a company engaged, by use of the mails and telephone, in the business of
collecting a debt from Plaintift` Whicb qualifies as a “debt,” as defined by 15 U.S.C. §l692a(§),
and a “consurner debt,” as defined by Cal Civ Code §l788.2(f). Defendant regularly attempts
to collect debts alleged to be due anotlier, and therefore is a “debt collector” as defined by the
FDCPA, 15 U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(0).

III. FACTUAL ALLEGATIONS

4. At various and multiple times prior to the filing of the instant complaint,
including within the one year preceding the filing of this complaint, Defendant contacted
Plaintiff in an attempt to collect an alleged outstanding debt.

5. Beginning in or around .luly of 2012, Defendant began placing collection calls to

Plaintiff in an attempt to collect an alleged debt owed.

6. In connection with the collection of the alleged debt, Defendant otten placed

collection calls to Plaintiff’s personal cellular telephone on an average of three (3) times a day,

on a virtual daily basis.

7. On at least one occasion, Plaintiff answered Defendant’s call, informed

Defendant’s agent, “Victor” and instructed Victor that Defendant Was not to place any more

collection calls to Plaintiff and only¢contact him via Written*cor`respondencel '

Complaix)t - 2

 

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8, ' Victor, in return, informed Plaintiff that Defendant would not stop calling and
could and would call Plaintiff as much as Defendant wanted to.
9. Defendant’s conduct violated the FDCPA and the RFDCPA in multiple Ways,

including but not limited to:

a) Engaging in conduct the natural consequence of which is to harass, oppress, Or
abuse Plaintiff (§ 1692d));

b) Causing Plaintiff’s telephone to ring repeatedly or continuously with intent to
harass, annoy or abuse Pl.aintiff (§1692d(5));

c) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal
Civ Code §1788.1 l(d));

d) Communicating, by telephone or in person, with Plaintift` With such frequency as
to be unreasonable and to constitute an harassment to Plaintiff under the

circumstances (Cal Civ Code §l788.11(e))
10. As a resort or the above violations or the FDCi>A one RFDCPA, Pioinarr
suffered and continues to suffer injury to Plaintift’s feelings, personal humiliation,
embarrassinent, mental anguish and emotional distress, and Defendant is liable to Plaintiff for

Plaintiff’s actual damages, statutory damages, and costs and attorney’s fees.

COUNT I: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECT.ION PRACTICES ACT

ll. Plaintit`f reincorporates by reference all of the preceding paragraphs

12. 'l`o the extent that Det`endant’s actions, counted above, violated the RFDCPA,

those actions were done knowingly and willfully

 

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PRAYER FOR RELIEF

for the following:

Complaint - 3

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WHERE§©RE,: Préinti'ri‘¢¥e‘si»~ooiruily prays that joagmont=bofoarorod'against coronan

 

Case 2:13-cV-O6035-DSF-SH Document 1 Filed 08/16/13 Page 9 of 26 Page |D #:40

 

 

 

 
 

 

 

 

 

l A. Actual damages; _
2 B. Statutory damages for willful and negligent violations;
C, Costs and reasonable attorney’s fees; and
3 D. For such other and further relief as may be just and proper
4
5 COUNT II: VIOLATION OF FAIR DEBT
COLLECTION PR~AC'I`ICES ACT
6
13. Plaintiff reincorporates by reference all of the preceding paragraphs
7
8 PRAYER FOR RELIEF
9 WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
19 for the following:
1
l A. Actual damages;
12 B. Statutory damages;
C.v Costs and reasonable attorney’s fees; and,
13 D. For such other and further relief as may be just and proper
14
15 PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY
16
17 .
Respectfully submitted this February 5, 2013
18 ` W'
19
20 By:
Todd l\/I. Friedrnan, Esq.
21 Law Oftices of Todd M. Friedman, P.C.
22 Attorney for Plaintiff
23
24
, 25 ,
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7 27 j , ` ii
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Complaint - 4

 

Case 2:13-cv-O6035-DSF-SH Documentl Filed 08/16/13

Page 10 of 26 Page |D #:41

POS-010

 

ATTORNEY OR PARTY WITHOUT ATTORNEY:

Todd Friedmari, Esq. (216752)

Law Offices»of Todd M. Friedman, P.C.
369 S. Doheny Drive, #415

Beverly Hills, CA 90211

TELEPHONENO.: (8'17) 206~4741
ATTORNEY FOR: Pla:tr)tiff

 

SUPERlOR COURT OF CALlFORNlA, COUNTY OF LOS ANGELES

STREETADDRESS£ 111 N. Hill Street
l\/lAlLlNGADDRESSZ 111 N. Hill St:reet
ClTYAND ZlP CODE: LOS Angel€§/ 90012

BRANCH NAl'\/lE; Hill Street; Branch

FOR COURT USE ONLY

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lohn A. C ar _ ,Exccu 've Ol‘licer/Clerk
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PLA|NTlFF: MIICE? MARQUEZ
DEFENDANT: MIDLAND CREDIT MANAGEMENT, INC.

CASE NUl\/|BERZ
13KO3 972

 

PROOF OF SERVlCE OF SUWIlVlOl\lS

 

 

Ref. No. or File No.'.

 

 

2. l served copies of;
f. other (specifiy documents):

At the time of Service l Was at least 18 years of age and not a party to this ection.

Summoris, Complaint, CCCS and Acldendum, General Order and ADR Packet

3. a. Party served:
Midland Credit Management, Inc.

b. Person (other then the party in item Ba) served on behalf of an entity or as an authorized agent (and note person

under item 5b on whom substituted service Was made):

Nai Saetuern c/o CSC Lawyers Incorp'oratiriq Service, Inc.

4. Address Where the party Was served:
2710 Gateway Oaks Drive, Ste. 150, Sacrament:o, CA 95833

5. l served the party

/ Agent for Service

a. by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to receive

service oi process for the party on 4/22/2013 at 3' 30 pm

d. On behalf of; Midla.ncl Credii: Management, Inc.
under the following Code of Civil Procedure section;
416.10 (corporation)

7. Person who served papers
a_ Name_' James Thomas

Fll'm§ Serves R Us
Address; 915 L Street # 0123, Sacramento, CA 95814

Théfeefd"r"tr`ié'§ervi'cé`“vv§"s:'""$"6`6'."0'0" ' '

lam:

(3) a registered California process server:
(i) owner . is `
(ii} Registration No.:200529'1~ y §§
(iii)County: Sacramento

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Fann adopted by rule 982.9

The "Notice to the Person Served" (on the summons) was completed as follows:

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Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 11 of 26 Page |D #:42

 

 

 

 

 

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i ‘ \ l
pLNNT|FF: M.LKE MARQUEZ c/\sENUMBER:
DEFENDANT; MIDLAND: cunan nANAc-;E_MENT‘, riic. 131\'0397.3

8. l declare under penalty of perjury under the laws of the State of Celifornia that the foregoing ls true and correct
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Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 12 of 26 Page |D #:43

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ClVl-O 0
ATTORNEY OR P/\RTY WlTHOUT AlTORNEY Name, Slale Bar number, and address): FDR COURT U$E CNLY
~”‘Todd M. Frledman, Esq. SBN 16752
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CASE NAME. Mi)$ass 'i) p y

Mike Marquez v. Midland Credit Management, lnc.

 

 

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demanded demanded is Filed with first appearance by defendant '
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:

 

 

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i. Checl< one box below for the case type that best describes this case'.

 

 

 

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Urllnsured motorist (46) l:::l Rule 3.740 collections (09) l:l Antlirust/Trade regulation (03)

Other PllPDNVD (Personal lnjurylProperty l.::l Giher collections (09) l::l Construciion defect (10)

Dan`iagelvllronglt`il Deathj Tort [:j insurance coverage (13) l::j Mass ton (40)

l:} Asbeslos (04) l:l Other contract (37) [:l Securllles litigation (28)

::l` Pr°duclllabllllY(Z‘l) RealProperty l::l Envlronmental/'l”oxictort(30)

:l Medl°al malpra°ll°e(45) l::] Eml“e“ld°,maln/l"‘/else l:l insurance coverage claims arising from the

l:: Oiher Pl/PD/vvo (23) condemnation (14) above lisied provisionally complex case

Non_Pll'Po/l)vo_(omer) ron l::l Wi°“§ful eviction l33l lyl“es (41)

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l::l lnl€l|eclual properly (191 :l DYUQS (33) l::l Other complaint (nol specified above) (42)

l:l Pmlessl°llalnegllgen°el25) Judl°lalRevlew Miscellaneous CivilPetitlon

l:Z] Oll\€f F'On'Pl/PD/VVD full (35) [::l Assel lodellule. (05') [:l F’arinership and corporate governance (21)

lE:_g'ljloymont l:l Peiiilori re: arbitration award (ii) m Omerpeunon (norspecl.fl.ed above) (43)
wrongful iormlnaiion reel [:l. will or mandate (02)

:l olher employment (15) l::l. other ioololal review rsol

 

 

2. This case l:_l is l::l is not complex under rule 3.400 Of the California Rules of Court. lflhe case is complex, mark the
factors requiring exceptional judicial management
a. l:;l Large number of separately represented parties d. ij Large number cf witnesses
b, l::l E)<tensive motion practice raising difficult or novel e. l::l Coordinailon with related actions pending in one or more courts

 

 
 

 

 

 

 

issues that will be time-consuming to resolve in other cou nties, states, or countries, or in a federal court
C. l:] Substaniial amount of documentary evidence f. :l Substantial postjudgment judicial supervision
3. Remedies sought (check all that app/y): a.- monetary b.l::l nonmonetary; declaratory or injunctive relief c. l::lpunitive
4. Number of causes of action (specl'fy).' 2
5. This case l:: is is not a class action suii. =
6. ll there are any known related cases. me and serve a notice of related case. (You may use form CM-015.)
Daie: l\/.larch 11, 2013
Todd I\/l. Friedman ! /
(`lYFE OR FRINT NAME) / (SlGNAT E OF FARI)/OR ATTORNEY FOR PARW)
NOTlCE \~/

 

 

` l `:ll:’laintiff must file this cover sheet With the first paper filed lrl the action o proceeding (except small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and institutions Code). (Cal. Ru|es of Court, rule 3.220.) Fai|ure to me may result
in sanctions

' File this cover sheet in addition to any cover sheet required by local court rule.

v lf this case is complex under rule 3.400 et seq. of the Califorrlia Rules of Court, you must serve a copy ofihls cover sheet on all

other parties to the action or proceeding
' Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl,y..o"m

 

 

 

Foii'n Ada led 101 Mandaio Use Cal. Ruies ol Cuurt. rules 2.30. 3.220, 3,400-3.403, 3,740;
Judicialpcoundl or camping ClVlL CASE COVER SHEET cal sionooroo oliooloialAdminiev:ii_iro[o,'ei¢:;)a.;o,
ww\vc u in 0. .g

CM~010 [Rav. July1, 2007]
Amollcan LegalNel_ lnc.

 

 

Case 2:13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 13 of 26 Page |D #:44

 

SHORT TiTLE: _ _
l\/iii<e l\/'iarquez v. i\/lldiand Credlt l\/lanagement, lnc.

CASE NUMBER

 

13K03972

 

 

CiViL CASE COVER SHEET ADDENDUM AND

STATEMENT OF LOCAT|ON

(CERTiFiCATE OF GROUNDS FOR ASSiGNMENT TO COURTHOUSE LOCATION)

 

This form is required pursuant to Locai Ru|e 2.0 irl ali new civil case filings in the Los Angeles Superior Court.

 

 

item l. Check the types of hearing and fill in the estimated length of hearing expected for this case:

JURY TRIAL?

YES CLASS ACTiON? m YES LiMlTED CASE? EYES TiiViE ESTlMATED FOR TRIAL 2'4 [:i HOQRS/izi DAYS

item ll. indicate the correct district and courthouse location (4 steps - if you checked “Limlted Case", skip to item ili, Pg. 4):

Step 15 After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected

S‘tep 2: Checi< _o_n_e Superior Cour'i type of action irl Column B below which best describes the nature ct this case.

Step 35 in Column C, circle the reason for the court location choice that applies to the type of action you have
checked For any exception to the court location, see Locai Ruie 2.0.

(]\~L(AJN_\.

Step 42 Flli in the information requested on page 4 in item ill; comptete item iV. Slgn the declaration

 

Applicabie Reasons for Choosing Courthouse Location (see Colurnn C below)j

 

. Class actions must be filed in the Stanley Nlosk Courthouse, central district
. l\/lay be filed in central (0ther_ ccunty, or no bodily injury/property damage).

. Locatlon where cause of action arose.
` Location where bodily lni'ury, death or dama e occurred

. Locatlon where performance required or de endant rcsides. 1

Loca lon where pet ticner resides

 

Location o't propert or permanently paraged vehicle.

a'ion where one 'or more cl tile cities reside

6.
7.
8. iL.oca lon wherein defendant/respondent functions wholly.
. oc

O. i_ocatlon ot i.abcr Co'mmissioner 0 i_'lce

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A ._G
civil case cover sheet 'Ap;_>ii,c___ai;_ie'_g_i§<`=.asi).iis _-
Category No. Sea` St'e'p"{z Al)'oiio‘
o t Auto (22) lIl A7100 Motor Vehlcie - Personal lnjurylProperty DamagelWrongful Death 1.. 2..4
`°:§ o
q i-
Unlnsured Motorist (46) iii A?tiO Personal injury/Property Damage/Wrongtui Death - Uninsured Motorist 1., 2.. 4
ill A6070 Asbestcs Property Damage 2_
Asbestos (04) .
§ z lIi A7221 Asbestos-Persona| iniury/Wrorigi'ui Deeth 2,
o o
§ § Product Liabitity (24) El A7260 Product Liability (not asbestos ortoxlc/envlronmental) 1.,2..3..4., 8.
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§§ 13 A721,Q____,_M,edi_c_at_Malpractice__:_t?tlysiciaris,.&...$__urgecris____,_________,.._._____ ,_ 14e__g.…..___#
"=" E MedicalMalpractice (45) '_ ’ ' '
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g § Ei A7250 Premtses L|abiiity (e.g., slip and tall) 1 4
Oiher _ ,_ . ,. »' " '
z § Persohal |MM`Y' ' ‘ ll A7230~ilntentlonai Bod|ily lniutry/Property Damage/WrongfulDeath (e.g., ~ 1_’4_
53 3 property Damage assaultl vanda lsm, e c.)
0 Wi°"i:fz°:;)[)eam iIi A727O intentional infliction cf Emotlonal Dlstress 1" 3'
Cl A7220 OtherPersonal lniurylProperty Darnagel\/Vrongfu| Death 1" 4'
LAclv 109(Rev.03/11i ClViL CASE COVER SHEET ADDENDUM Locai Rule 2.0
LAsc Apprnved 03-04 AND STATElViENT OF LOCATiON Page 1 of4

 

Case 2:13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 14 of 26 Page |D #:45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ch)RT mLE; _ . _ cAse NuMeeR
Nm<e Marquez v. Mldland Cred¢t l\/lanagement, |nc.
A B C
Civi| Case Cover Sheet Type of Aciion Applicab!e Reas<_)ns ~
Category No. (Check only one) See Siep 3 Above
Business Tort (07) II| A6029 Other Commerciai/Business Tort (not fraud/breach of contracl) 1.. 3.
§ §
3 *"‘ Civll R¥ghts (08) CJ A6005 Clv\l RIghts/Discr|m\natlon 1., 2., 3
o .|:
`__ +~'
m 3
`E,C.`» Defamaiion (13) 13 ASO?O Defamatlon (slander/|lbe|) 1.,2.._3
3 :J
'E‘ ":'h
§ § Fraud (16) [l A6013 Fraud (no contract) 1,,2,,3,
c l~
o g
§ 76 m A6017 Legas Malprec:ice 1.. 2.. 3.
u_ § Professional Neg|igence (25) '
¢'; E E] ABOSO Other Professlor\a! Malpract|ce (not medical or legal) 1.. 2., 3.
§ s
Othar(35) 121 A6025 Other Non-Persona| |njury/Property Damage tort 2..3,
§ Wrongfu! Termination (36) [J A6037 WrongfulTerminat|on 1,, 2.. 3
E
> .
2 [J A6024 Other Employmen!Comp|aint Case 1.. 2.l 3.
§ Other Emp|oyment (15)
m C] A6109 Labor CommissionerAppeals 10.
D A6004 Breach ofRenla!ILease Contracl (not unlawful detainer or wrongful
2., 5.
eviction)
Breach of Cont act/ Wa an
(0§) " ry cl Aeooa conrracvvvarranty Breach -sener Pialnuff(no fraud/negngence) 2“ 5'
("°Hns""ance] L'J A6019 Negllgent Breach ofCon!ract/Warranly (no fraud) 1" 2" 5'
EJ ASGZB Other Breach of Contract/Warranty (not fraud or neg!igence) 1" 2" 5'
§ D AGOOZ Co\leciions Case-Sel|er Plalntiff 2..5.,6.
§ Co!|ections (09)
8 111 A6012 OtherProm!ssory Noie/Collections Case 2..5.
!nsurance Coverage (1B) E! A6015 insurance Coverage (not complex) 1., 2.. 5.. 8.
[J AGOOQ Con\ractual Fraud 1\, 2., 3.. 5.
OtherContract (37) [l A6031 Tortious lnterference 1., 2., 3., 5.
C! A6027 OLherContractDispute(notbreach/§nsurance/fraud/negllgence) 1..2.,3..8.
Em\nent Domalnl|nverse .
COndemnauon (14) EJ A7300 EmlnentDomam/Condemnat!on Numberofparcels 2.
§
g Wrongfu\ Evlctlon (33) E\ A6023 Wrongful Ev!cfion Case 2.. 6.
C
5
~“-,- lIJ A6018 Mor!gage Foreclosure 2..
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m Other Rea\ Property (26) Ei A6032 QuletTille 2., 6.
C| A6060 Other Rea| Propedy {no! eminenfdoma|n. |andlord/tenant, foreclosure) .. 6.
L_ Umawfu| Det:l;;r'o°mmerda’ D A6021 Unlawfu! Detainér~Commercla! (nd! drugs or \¢Jrongru| évlctlon) 2.. 6.
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c
§ U;n'awfu' Det?:;'§r'Res[den“a' El A6020 Un|awful De!ainer-Residential (notdrugs or wrongful eviction) 2.. 6.
b ,./.. `¢,' ,_._¢~, , _:" v 4_{§"]\'_‘_;' '. 7 |. 3 j ,, ~, »>‘::'¢`,;..;r .> j w b t d w v y
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Unlawful Detainer» . _ _
§ Post_Forec`Osme (34) cl AeozoF unlawful Dezamer Post Forecmsure 2.. 6.
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Unlawfu| De!alner-Drugs (35) CJ A6022 Un!awfu\ Deta\ner-Drugs 2,, 8.
LAC\\/ 109 (Rev. 03/11) ClVlL CASE COVER SHEET ADDENDUM Local Rule 2.0
AND STATEMENT OF LOCATION Page 2 0f4

LASC Approved 03-04

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 2:13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 15 of 26 Page |D #:46
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SHORT TiTLE: _ _ v cASE NuMBER
i\/iii<e i\/iarquez v. i\/iidiand Credlt Management, inc.
A B C
Civii Case Cover Sheet Type of Action Appii'cabie Reasons -
Category No. (Check only one) See Siep 3 Above
Asset Fon‘eiture (05) ij AGiOB Asset Forfeiiure Case 2., 65
§ Petiiicm re Arbiiraiion (11) ij A6115 Petition to CompeiiConHrm/Vacate Arbiiraiion 2., 5
'S
¢|.l
§ i:] Ae151 Wnt - Adminisrrative Mandamus 2., s.
m
§§ Writ of Mandate (02) ij A6152 Writ ~ Mandamus on Limlied Court Case Matter 2.
-=§ 1:1 A6153 Wru - other umw court case Revsew 2.
Oiher Judicial Review(39) EJ A6150 Oiher Wrii/Judicial Review 2., B.
§ Antltrust/Trade Reguiaiion (03) Ei A6003 Antitrusi/Trade Reguiaticn i.‘z.. 8
§
§§ Consiruction Defec!(10) Ei A6007 Construciion Defeci 1.,2..3
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§ C’a'ms I"V°é:‘g)g Mass T°“ m Aeooe ciaims involving Mass ron 1., 2.. a
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"; Securiiies litigation (28) CI A6035 Securiiies Liiigation Case 1.z 2., 8
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= Toxic Tori -
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z Env‘wnmema| (30) ij A6036 Toxic TorUEnvironmeniai 1.,2.,3.,8.
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insurance Coveraga Ciaims ,
n..
nom Comp|ex Case (41) ij A6014 insurance CoveragelSubrogatlon (compiex case oniy) 1., 2., 5.. 8.
iIi A614i Sisier Siaie Judgment 2.,9.
*5 § iii A6160 Absiract of Judgrneni 2.\ 6.
w w
§ cEn Enforcemem ij A6107 Confession of Judgment (non-domesiic relations) 2., 9.
§ § °fJudeem (20) iii A614O Adminisirailve Agency Award (not unpaid taxes) 2., 8.
C
\-U "5 CJ A61i4 Peiiiion/Ceriii`lcaie for Eniry ofJudgment on Unpaid Tax 2., B.
Ci A6112 Oiher EnforcementofJudgment Case 2., B., 9.
5 RiCO (27) iii A6033 Racketeering (RICO) Case 1.,2,, 8.
3 .E
§ § m A6030 Declaraiory Renefoniy 1., 2,. e.
N
§ 8 Other Comp|amts Ei A604O injunctive Rei|ef Oniy (noi domestic/harassment) 2., 8.
§ § (N°t Specmed Ab°"e) (42) CI A6011 Oiher Commercia| Compiaint Case (non-iorilnon-compiex) 1_., 2._.-8.
o iii ASOOO Oiher Civii Compiaini (non-ton/non~comp|ex) i., 2.. 8.
Parinership Corporaiion
Govemance (21) ill A6113 Partnership and Corporate Governance Case 2., 8
m ij AGiZi Civii Harassmeni 2 , 3., 9
'/)
§ -§ . .,E,,,..A6.1.2.3._...Workp'ace Harassmem....., . .'., ,_,.`__._....,...___..._,,,,,_-.. ,' ., ,_. 2_. 3 ’ 9'
§ `:?, __ m A6124 Elder/DependeniAduiz Avuse case 2., 3., 9
3 n. OtherPeimons
g ='§ (Not Specii'ied Above) iii A6190 Eiection Coniesi 2.
§ 0 (43) 121 A§z_iip » P¢mign,fqrchange QrName § »:; 2., 7.
iii A6170 Peiiiion for Rei|ef from Late Ciairn Law 2., 3., 4., 8.
iii ABiOO Oiher Civii Peiition 2., 9.
LACiv 109 (Rev. 03/11) ClVlL CASE COVER SHEET ADDENDUM Locai Ruie 2.0
AND STATEMENT OF LOCATiON Page 3 of4

LASC Approved 03-04

 

 

Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 16 of 26 Page lD #:47

 

SHORT TiTLE: CASE NUMBER

 

Mike l\/iarquez v. l\fiidiand Credit l\/lanagement, lnci

 

item ili. Statement of Location: Enterthe address of the accident party's residence or place of business, performancel or other
circumstance indicated in item ll., Sfep 3 on Page i, as the proper reason for filing in the court location you selected

 

ADDRESSZ

REASON: Check the appropriate boxes for the numbers shown 204 5 german 51
under Column C for the type of action that you have selected for
this oase.

 

[ii. 1:32. [ZiS. i:|4. EiS. i:iS. i:i7. CiB. |:19. i:iiO.

 

cirv: sTATE: ziP coDE:
Glendora CA 91740

 

 

 

 

 

item iV. Declaration of Ass/`gnment: l declare under penalty of perjury under the laws of the State of Caiifornia that the foregoing is true

and correct and that the above-entitled matter is properly died for assignment to the Stanley MOSk courthouse in the
Cemra‘ District of the Superlor Court of Caiifornia, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Locai

Ruie 2.0l subds. (b), (c) and (d)].

/,
Dai@dzw w/

(SiG!‘iAURE OF ATTORNEY/FiLiNG PARTY)

PLEASE HAVE THE FOLLOWING |TEMS COMPLETED AND READY TO BE FiLED iN ORDER TO PROPERLY
COMN|ENCE YOUR NEW COURT CASE: .

1. Originai Compialnt or Petition.

2 if filing a Complaint, a completed Summons form for issuance by the Clerl<.
3. Civil Case Cover Sheet, Judicial Council form Ci\/l-OiO.

4

Ci\//ii Case Cover Sheet Addendum and Statement of Location form, LAClV 109, LASC Approved 03-04 (Rev.
03 11).

Payment in full of the filing fee, unless fees have been waived.

91

A signed order appointing the Guardian ad l_iteml Judicial Council form CiV-OiO, if the plaintiff or petitioner is a
minor under 18 years of age Wiil be required by Court in order to issue a summons

7. Additlonai copies of documents to be conformed by the Cierk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint or other initiating pleading in the case

 

 

LAciv 109 iRe\/. 03/11) CiViL CASE COVER SHEET ADDENDUN| Local Rule 2.0
mac improved 03_04 AND STATElViENT OF LOCATiON Page 4 of 4

 

Case 2:13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 17 of 26 Page |D #:48

EXHIBIT B

 

Case 2:13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 18 of 26 Page |D #:49

POS-OiS
ATTORNEY OR PARTY WITHGUT §§TORNEY (N§o,,)$l]ala 'L;ar %wnmn and ndamss): FQR CUURT USE ONL)’
T d . i~` ` d , . 5 .
"‘N?ci?o as l r §0;1¥%?;\0:31'.3%83§_ 2521§4"$\11”€11 N. Weerasurrya, SBN 278512
Law Offrces of'l`o§d M. Frrcdman, P.C.
369 S. Doheny Dr.

#41
B€Ved\>ér§irlolnsé r%z\SgQ-zé 6-474 1 FA><HO. roprm/): 866~633-0228

r.=~M/ur. Abr)nsss ropuonar;.~ _
Ar~ronnev Fon (Name).~ Piamilff", MIK€ l\/Iai‘q U€Z

 

 

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crrv mo 219 coos: LOS A!‘lgei€$, CA 90012
emmett miner

 

PLA|NT;FF/Perrrlonen: r\/iii<e i\/iarquez

oeFENoANr/RESPONDENT:Midianci Creciit i\/Ianagement, inc.

 

cAsE NUMBER:

Norrce AND AcKNoWr_EoGMENT ore Recer_Pr-_clvrt_ 131<03972

 

 

 

TO (lnsert name of party being served): i\/i idiand Credit Manaaemcnt, inc,

 

NOTiCE

The summons and other documents identified below are being served pursuant to section 415.30 of the Calitomia Code of Civii
Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you

(or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
on you in any other manner permitted by taw.

li you are being served on behait' of a corporation, an unincorporated association (inciudlng a partnership), or other entity, this
form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
entiiy. ln ail other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of

summons. |f you retum this form to the sender, service of a summons is deemed complete on the day you sign the
acknowledgment of receipt betow.

 

 

 

Date of mailing:]tziy 18, 2013 l

Jason Rea y l`
(S

rWPE on Pnrnr NAME) ‘Q::j sen `en\LTAusr Nor Be A PARTY rN mrs cAse)
ACKNOWLEDGMENT OF RECE)

This acknowledges receipt of (to be completed by sender before mailing}.'
i. A copy of the summons and ofthe complaint
2. i::i other (specify):

(To be completed by reclpient):

}

lWPE OR PthiT YOUR NI\ME ANO NAME OF EN¥*TY. lF ANY. lsrorrATune or= penson Acmowteocrnc REcerPr. w\rH Trrte rF
on wHose senALF mrs FcRM rs slorrrao)

ACKNOWLEDGMENT 15 MADE ON BEHALP OF ANOTHER PERSON OR ENTXTY)

 

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PO$-O‘i§ [R ev. January i. 2005]

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www.USCouriFovmz.com

 

Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 19 of 26 Page |D #:50

 

PROOF OF SERVICE
STATE OF CALIFORNIA )
) ss.
1 COUNTY OF LOS ANGELES )
2 . .
l am employed in the County of Los Angcles, State of California.
3 l am over the age of eighteen years and not a party to the within action. My business address
4 is 5959 W. Ccntury Blvd., Suitc 1214, Los Angeles, CA 90045.
5 On August 16, 2013,1 served the foregoing document(s) described as: NOTICE OF
REMOVAL on all interested parties in this action by placing a true copy thereof enclosed in a
6 sealed envelope addressed as follows:
7 SEE ATTACHED SERVICE LIST
g [X] BY MAIL: l sealed such envelope(s) and placed it (thern) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer LLP. l am "readily familiar"
9 with the business practices of Carlson & Mcsscr LLP for collection and processing of

correspondence for mailing with the United States Postal Scrvicc. Such correspondence would
1() , bc deposited with the United States Postal Servicc at Los Angeles, California this same day in
the ordinary course of business with postage thereon fully prepaid. `

1 1
[ ] ELECTRONIC MAIL: Bascd on Court order or an agreement ofthc parties to accept service
12 by e-rnail or electronic transmission, I caused the said documents to be sent to the persons at the
electronic mail addresses listed below (scc attached service list). l did not receive within a
13 reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful /
1 4

[] PERSONAL SERVICE BY HAND: I personally served such document to address stated on
15 POS Servicc List.

16 [ ] BY FACSIMILE- 1 transmitted via telecopier machine such document to the offices of the
addressees

1 7
[] (STATE) - I declare under penalty of pcrj ury under the laws of the State of California that the

13 above is true and correct

19 [X] (FEDERAL) - l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made

    
     

 

20
Executcd this 16th day of August, 2013, at Los Angclcs California.
22 /W ;y`y»', ,'/,--~1/_=
Linda Brooks
24
25
26 l

 

PROOF OF SERVICE

 

 

Case 2:13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 20 of 26 Page |D #:51

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O\U`l-BLJ~)[\)>°°‘O©OO\]O\KII-P-WI\)*~"O

 

 

Mike Marquez v. Midland Credit l\/Ianagement. Inc.
File No.: 07489.00

Todd M. Friedman, Esq. Attorneys for Plaintiff
LAW OFFICES OF TODD M. FRIEDMAN, P.C. MIKE MARQUEZ
369 S. Doheny Drive, Suite 415

Beverly Hills, California 90211

Tele: (877) 206-4741

Fax: (866) 633-0228

t'friedman@attorneysforconsumers.com

2
PROOF OF SERVICE

 

Case 2:13-cv-06035-DSF-SH DocumentW;LEM|$§AL§i-l?> Page 21 of 26 Page |D #:52

 

DEFENDANTS
iviiDi_AND cREDiT MANAGEMENT, iNC.

l. (a) PLA|NT|FFS ( Check box if you are representing yourself [:| ) (Check box if you are representing yourself 1:] )

MlKE MARQUEZ

 

(b) Attorneys (Firm Name, Address and Telephone Number. lf you
are representing yourse|f, provide same.)

Jeanne L. Zimmer, Esq. /J. Grace Fe|ipe, Esq./Carlson & Messer LLP

5959 W. Century Blvd., Suite 1214

Los Angeles, CA 90045

Tele: (310) 242-2200/Fax: (310) 242-2222

(b) Attorneys (Firm Name, Address and Telephone Number. lf you
are representing yourse|f, provide same.)

Todd M. Friedman, Esq./Law Offices ofTodd M. Friedman

369 S. Doheny Dr. #415

Beverly Hills, CA 90211

Tele: (877) 206-4741/Fax: (866) 633-0228

 

 

 

 

ll. BAS|S OF JUR|SD|CT|ON (P|ace an X in one box only_) lll. ClTlZENSHiP OF PRlNClPA_L PART|ES-For Diversity Cases Only
(P|ace an X in one box for plaintiff and one for defendant)
PTF DEF . . PTF DEF
1. U.S. Government 3. Federal Question (U.S. C1112en 01¢1-111$ State 1~_-1 1 1:1 1 lncorp_orate_d or Frincipal Place 1:1 4 1:1 4
P|aintiff Government Not a Party) _ _ of Bus'“ess m th'$ State
C't'Zen of An°the*' State l:l 2 m 2 incorporated and Principal P|ace 1:1 5 1:1 5
of Business in Another State

[:1 2' U‘S' Govemmem 4. Diversity (lndicate Citizenship Citizen or Subject ofa 3 3 F _ N _

Defendant Of Parties in ltem ln) Foreign Country m m Ol'elgn athl'\ m 6 m 6
|V. OR|G|N (Place an X in one box on|y.) S'Tl)';';rsifc‘:"(§d;'c‘i’f’;‘)"“°the' 6$:1':1’£1
1::1 1. Original 2. Removed from 1:1 3. Remanded from 1:1 4. Reinstated or p Litigation

Proceeding State Court Appe|late Court Reopened

 

v.REQuEsTEDiN coMPLAiNT: JuRY DEMAan Yes 1:] No (Check "Yes" only if demanded in complaint-l

CLASS ACTlON under F.R.CV.P. 23: [:] Yes No 1:\ MONEY DEMANDED lN COMPLA|NT: $

 

Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional statutes unless diversity.)
15 USC 1692, et seq.
A||eged violation of the Fair Credit Reporting Act

 

Vl|. NATURE OF SU|T (P|ace an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. lMMlGRAT|ON PR|SONER PET|TIONS PROPERTY RlGHTS
1:1 375 False claims Act m 110|n5urance 240 Torts to Land 13 462 Naturalization Habeas Corpus: m 320 Copyr;ghts
245 Tort prod t App|ication |:| 463 Alien Detainee
400 State g 120 Marine i:l , _‘ uc _ m 830 Patent
i:l Reappomonment Liability 1:1 465 _Oth€_r _ E| 510 Motions to Vacate
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150 Recove of 1`_"] 370 OtherFraud _
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1:] 460 Deportation ESL;r:]eerrntent of 1:] 315dA11p1a-n§.1- [:] 371 Truth in Lending [:1 550C1V11Rights [:] 863D]WC/D1WW(405(9))
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m enced & Corrupt Org, 1:| 151 Medicare Act 1:1 320 Assault, Libe| & [:| Property Damage i:l 1 _On oil
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LY_] 480 ConsumerCredit 152 Recovery of 3301: d E 1 . 1:1 1385 Prop<°;"ty_l_)amage l:l Conditions of
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850 Securities/Com- rm 422 Appea| 28 Defendant)
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REAL PROPERT¥ Product L'abl|'ty _ _ [:] 740 Railway Labor Act
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|:1 Act/Review of Appea| of [1 an Pharmaceutica\ [:| Disabilities- m L A Y
Agency Decision COndemnatiOn l:] personal 1n1ury Employment €aV@ Cf
1__'] 220 Forec|osure Product liability 1:| 446 Amerlcan With [_"| 7.99 Ot.her Lab°'
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FOR OFF|CE USE ONLY: Case Number:

 

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AFTER COMPLET|NG PAGE 1 OF FORl\/l CV-71, COMPLETE THE lNFORlVlAT|ON REQUESTED ON PAGE 2.

 

CV-71 (02/13)

ClV|L COVER SHEET

Page 1 of 2

 

 

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ClVlL COVER SHEET -
Vl|l(a). lDENT|CAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO [:] YES
lf yes, list case number(s):
Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO l:] YES

if yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check an boxes that app|y) |:| A. Arise from the same or closely related transactions, happenings, or events; or
m B. Ca|l for determination of the same or substantially related or similar questions of law and fact; or
f:] C. For other reasons would entail substantial duplication of labor ifheard by differentjudges; or

l:] D. involve the same patent, trademark or copyrightl and one ofthe factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
plaintiff resides.
l:] Check here if the government, its agencies or employees is a named plaintiff. lf this box is checked, go to item (b).

California County outside of this District; State, if other than California; or Foreign
Countrv

 

County in this District:*

 

Los Angeles

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
defendant resides.

|:l Check here if the government, its agencies or employees is a named defendant. |f this box is checked, go to item (c).

California County outside of this District; State, if other than California; or Foreign
Countrv

 

County in this District:*

 

San Diego

 

(C) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
NOTE: ln land condemnation cases, use the location of the tract of land involved.

California County outside of this District; State, if other than California; or Foreign
Countrv

 

County in this District:*

LOS A r\§')clld.£`

*Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: in land condemnation cases, use the location of the tract of land involved\ m

x. siGNATuRE oi= ArroRNEY ioR sEi.F-REPRESENTED LiTiGANT): >‘ l$l DATE: 8 w Z/m

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Notice to Counse|/Parties: The CV-71 (JS-44) Civil Cover Sheet and the informati{)n`t‘{)ntained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicia| Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet),

Key to Statistica| codes relating to Social Security Cases:

 

 

 

 

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A`, of the Social Security Act, as amended. Also,

861 HlA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services underthe program.
(42 u.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benefits underTitle 4, Part B, ofthe Federa| Coal Mine Health and Safety Act of 1 969. (30 U.S.C.
923)

863 D1WC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability (42 U.S,C.`405 (g))

863 D1WW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
All claims for supplemental security income payments based upon disability Hled under Title 16 ofthe Social Security Act, as

864 SSID amended

865 R$| All claims for retirement (old age) and survivors benefits underTitle 2 of the Social Security Act, as amended.

(42 u.s.c. 405 (g))

CV-7l (02/13) ClVlL COVER SHEET Page 2 Of 2

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Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13_ Page 23 of 26 Page lD #;54
Case 3:13-cv-01910-Ji\/i-WVG Document 1-2 Fiied 08/16/13 Page 29 of 29

Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary]ury trials. Som`eiimes
parties will try a combination of ADR processes The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispuie. Be sure to learn about the rules of any ADR program and the qualifications of any

neutral you are considering, and about their fees.

Local ADR Programs for Civil Ca§es

Mediation: The` San Diego Superior Court maintains a Civil lviediatiori Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court»referred mediations. ~

On-iine mediator search and seiegtion: Go'to the court's ADR webpage at www.sdcourt.ca.ggv[adr and click on the
“Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation styie,
and fees and to submit an on-line Niediat`or Selection Forrn (SDSC form #ClV-OOS). The Civil Mediation Panel List. the
Available Mediator List, individual i\/iediator Proiiles, and Mediator Seiectlon Form (ClV-OOS) can also be printed from the

court's ADR webpage and are available at the Mediation Program Oftice or Civil Business Ofnce at each court iocation.

Settiement Conference: The judge may order your case to a mandatory settlement conference,` or voluntary settlement
conferences may be requested from the court if the parties certify that (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
Super`vised settlement conference presents a substantial opportunity for settlement and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further

discovery for settlement purposes'is not required. Refer to SDSC Local Rule 2.2,11 for more information, To schedule a

settlement conference; contact the department to which your case is assigned

Arbitration: The San Diego Supen‘or Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience Refer to SDSC`Locai
Rules Division ilx Chapter lil and Code Civ. Proc. § 1141 .1 0 et seg or contact the Arbitration Program Office at (619)
450-7300 for more information;

' Niore information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov[adr or contact the

court‘s MediaiionlArbiiratlon Ofiice at (619) 450~7300.

Dispute Resoiuti_on Programs ~A'ct (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof; Code §§ 465 et seq.): 4 _ » ~ '
- 'ln Central, East', and South San Diego County, contact the National Confiic°t Resolution Center (NCRC) at
www.ncrconiige.com or (619) 238-2400.. _ 1 ' . ` .
- in North San Diego County, contact Norih County Llfeline, lnc. at www.nclifeiine,g;g or (760) 726-4900.

Prlvate ADR: To find a private ADR program or neutrai, search the intemet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settiement,_or arbitration services.

Leqai Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. if you do not already have an attomey, the California State Bar or your local County Bar Association
can assist you iri finding an attorney. information about obtaining free~and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.dov/selfhelp/Iowcost.

 

 

S°SC C‘V'73° lR°" '2'1°) ALTERNAT|VE DlSPUTE RESOLUTION (ADR) lNFORMATlON Paoe'Z

Case 2'13-cv-06035-DSF-SH Document 1 Filed 08/16/13 Page 24 of 26 Page |D #:55

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PRO()F OF SERVICE
STATE OF CALlFORNlA )
) ss.
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California.

l am over the age of eighteen years and not a party to the within action. My business address

is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On August 16, 2013, I served the foregoing document(s) described as: CIVIL COVER

SHEET on all interested parties in this action by placing a true copy thereof enclosed in a sealed
envelope addressed as follows:

[Xl

[l

[1

[]

[]

[X]

SEE ATTACHED SERVICE LIST

BY MAIL: l sealed such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices ofCarlson & Messer LLP. l am "readily familiar"
with the business practices of Carlson & Messer LLP for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence would
be deposited with the United States Postal Service at Los Angeles, California this same day in
the ordinary course of business with postage thereon fully prepaid

ELECTRONIC MAIL: Based on Court order or an agreement of the parties to accept service
by e-mail or electronic transmission, I caused the said documents to be senth the persons at the
electronic mail addresses listed below (see attached service list). l did not receive within a
reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful

PERSONAL SERVICE BY HAND: Ipersonally served such document to address stated on
POS Service List.

BY FACSIMILE- l transmitted via telecopier machine such document to the offices of the
addressees. f

(STATE) - l declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

(FEDERAL) - l declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

 

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PROOF OF SERVICE

 

Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 25 of 26 Page |D #:56

Mike Marquez v. Midland Credit Management. Inc.
File No.: 07489.00

p._.i

Todd M. Friedman, Esq. Attorneys for Plaintiff
LAW OFFICES OF TODD M. FRIEDMAN, P.C. MIKE MARQUEZ
369 S. Doheny Drive, Suite 415

Beverly Hills, California 90211

Tele: (877) 206-4741

Fax: (866) 633-0228

tfriedman@attorneysforconsumers.com

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PROOF OF SERVICE

 

 

Case 2:13-cv-O6035-DSF-SH Document 1 Filed 08/16/13 Page 26 of 26 Page |D #:57

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OP CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ]udge Dale S. Fischer and the assigned

Magistrate ]udge is Stephen ]. Hillman

The case number on all documents filed With the Court should read as follows:

Cviz-eoss-DsF(sHX)

 

Pursuant to General Order 05~07 of the United States District Court for the Central District of

California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court

 

 

 

August 16, 2013 By C, Sawyer
Date Deputy Clerl<
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants ( if a removal action is

filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [:| Southern Division {:| Eastern Division
312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470 Twelfth Street, Roorn 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

